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           EXHIBIT 77
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From:             Alavanja, Michael (NIH/NCI) [E]
To:               Sandler, Dale (NIH/NIEHS) [E]; Lynch, Charles F.; Hofmann, Jonathan (NIH/NCI) [E]; Hines, Cynthia
                  (CDC/NIOSH/DSHEFS); Barry, Kathryn Hughes (NIH/NCI) [F]; "Thomas, Kent"; Koutros, Stella (NIH/NCI) [E];
                  Andreotti, Gabriella (NIH/NCI) [E]; Blair, Aaron (NIH/NCI) [V]; Lubin, Jay (NIH/NCI) [V]; Beane-Freeman, Laura
                  (NIH/NCI) [E]; Hoppin, Jane (NIH/NIEHS) [V]; Barker, Joe (IMS); Buckman, Dennis (NIH/NCI) [C]
Subject:          RE: NHL manuscript rejected by IJC
Date:             Thursday, February 27, 2014 1:05:23 PM


Hi Dale,

No indication at all.

We need a journal that is likely to accept this long article without much change—we have had so
many iterations and strong opinions of this article I fear to make almost any change.

We have over 10,100 words according to the EHP system of counting words which includes
references and tables (EHP allow 7000). We have well over 15,000 words if you add in the
supplemental material. We have 50 references and deleting references changes the discussion
substantially---we need to avoid that as well.

Any suggestions for another journal that accepts large article—the main body of the manuscript has
4,800 words---not too large but the tables are very large.

Michael

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USPHS Captain (retired).
Division of Cancer Epidemiology and Genetics,
National Cancer Institute,
9609 Medical Center Drive, Rm 6E602
Rockville, Maryland 20892, USA




From: Sandler, Dale (NIH/NIEHS) [E]
Sent: Thursday, February 27, 2014 12:53 PM
To: Alavanja, Michael (NIH/NCI) [E]; Lynch, Charles F.; Hofmann, Jonathan (NIH/NCI) [E]; Hines,
Cynthia (CDC/NIOSH/DSHEFS); Barry, Kathryn Hughes (NIH/NCI) [F]; 'Thomas, Kent'; Koutros, Stella
(NIH/NCI) [E]; Andreotti, Gabriella (NIH/NCI) [E]; Blair, Aaron (NIH/NCI) [V]; Lubin, Jay (NIH/NCI) [V];
Beane-Freeman, Laura (NIH/NCI) [E]; Hoppin, Jane (NIH/NIEHS) [V]; Barker, Joe (IMS); Buckman,
Dennis (NIH/NCI) [C]
Subject: RE: NHL manuscript rejected by IJC

This is disappointing. Did they give any indication of why – novelty, interest to readers, etc.?   The
paper is quite long and covers a lot – that narrow the options.

From: Alavanja, Michael (NIH/NCI) [E]
Sent: Thursday, February 27, 2014 12:44 PM
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To: Alavanja, Michael (NIH/NCI) [E]; Lynch, Charles F.; Hofmann, Jonathan (NIH/NCI) [E]; Hines,
Cynthia (CDC/NIOSH/DSHEFS); Barry, Kathryn Hughes (NIH/NCI) [F]; 'Thomas, Kent'; Sandler, Dale
(NIH/NIEHS) [E]; Koutros, Stella (NIH/NCI) [E]; Andreotti, Gabriella (NIH/NCI) [E]; Blair, Aaron
(NIH/NCI) [V]; Lubin, Jay (NIH/NCI) [V]; Beane-Freeman, Laura (NIH/NCI) [E]; Hoppin, Jane
(NIH/NIEHS) [V]; Barker, Joe (IMS); Buckman, Dennis (NIH/NCI) [C]
Subject: RE: NHL manuscript rejected by IJC

Hello all,

To my great surprise our NHL manuscript was not sent out for review by IJC. It was rejected at the
editorial desk.

I will speak to Laura to discuss alternative. I am seeking an alternative journal that will leave as much
of the article unchanged as possible. It has been a very long struggle to get the manuscript into its
current form, satisfying all co-authors and all agency reviews. I think it is a fine article.

I will let you know what we decide when Laura returns to the office next week.

Best wishes,

Michael

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USPHS Captain (retired).
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National Cancer Institute,
9609 Medical Center Drive, Rm 6E602
Rockville, Maryland 20892, USA




From: Alavanja, Michael (NIH/NCI) [E]
Sent: Friday, February 14, 2014 4:37 PM
To: Lynch, Charles F.; Hofmann, Jonathan (NIH/NCI) [E]; Hines, Cynthia (CDC/NIOSH/DSHEFS); Barry,
Kathryn Hughes (NIH/NCI) [F]; 'Thomas, Kent'; Sandler, Dale (NIH/NIEHS) [E]; Koutros, Stella (NIH/NCI)
[E]; Andreotti, Gabriella (NIH/NCI) [E]; Blair, Aaron (NIH/NCI) [V]; Lubin, Jay (NIH/NCI) [V]; Beane-
Freeman, Laura (NIH/NCI) [E]; Hoppin, Jane (NIH/NIEHS) [V]; Barker, Joe (IMS); Buckman, Dennis
(NIH/NCI) [C]
Subject: NHL manuscript cleared all agency reviews.

Dear Co-authors,

The attached manuscript has now cleared all agency reviews including NCI, NIEHS, NIOSH, and EPA.

I will send the manuscript to the International Journal of Cancer COB Tuesday, February 18th.

Thank you for all your very valuable contributions.
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Best wishes,

Michael
